             IN THE COURT OF APPEALS OF NORTH CAROLINA

                                2021-NCCOA-151

                                 No. COA20-470

                               Filed 20 April 2021

North Carolina Industrial Commission, No. 18-9698

SHARON CASH WEST, Wife of Keith West (Decedent), JESSICA WEST HAYES,
Adult Daughter of Decedent, RAYMOND WEST, Adult Son Decedent, and
SHANNON STOCKS, Plaintiffs,
          v.

HOYLE’S TIRE &amp; AXLE, LLC, Employer,

and

TRAVELERS INDEMNITY COMPANY, Carrier, Defendants,



      Appeal by plaintiffs and defendants from opinion and award entered 8

November 2019 by the North Carolina Industrial Commission. Heard in the Court

of Appeals 14 April 2021.


      Teague Campbell Dennis &amp; Gorham, LLP by Luke A. West, for Defendants-
      Appellants, Cross-Appellees.

      Hemmings &amp; Stevens, PLLC by Kelly A. Stevens, for Plaintiff-Appellee, Cross-
      Appellant Jessica West Hayes.

      Cloninger Law Offices, PLLC by D. Randall Cloninger, for Plaintiff-Appellee,
      Cross-Appellant Raymond West.

      Amy Berry Law, PA by Amy Berry, for Plaintiff-Appellee, Cross-Appellant
      Sharon Cash West

                                          -1-
                               WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                         2021-NCCOA-151

                                        Opinion of the Court




           Mast Mast Johnson Wells &amp; Trimyer, by Charles Mast, for Plaintiff-Appellee,
           Cross-Appellant Shannon Stocks.
           CARPENTER, Judge.


                           I. Factual &amp; Procedural Background

¶1         Keith West (“Decedent”) was employed by Hoyle’s Tire &amp; Axle at the time of

     his death and was killed in a work-related accident. Defendant-Employer Hoyle’s

     Tire &amp; Axle, LLC (“Hoyle’s Tire”) and its workers’ compensation insurance carrier

     Defendant-Carrier     Travelers   Indemnity     Company     (“Travelers”)   (collectively,

     “Defendants”) admitted compensability for death benefits.             Decedent’s adult

     daughter, Plaintiff Jessica West Hayes (“Plaintiff Hayes”), Decedent’s adult son

     Raymond West (“Plaintiff West”), Decedent’s estranged wife Sharon Cash West

     (“Plaintiff Cash West”), (collectively, the “Family Members”), and Decedent’s alleged

     girlfriend or fiancé Shannon Stocks (“Plaintiff Stocks”) (collectively, “Plaintiffs”) all

     asserted death benefit claims under the North Carolina Workers’ Compensation Act.

     Although Plaintiff Stocks admits she was not married to Decedent, Plaintiff Stocks

     claims she was cohabitating with and partially dependent upon Decedent for certain

     expenses.

¶2         On 2 April 2018 Defendants filed a Form 33 request for hearing in this matter

     seeking “to determine the proper beneficiaries in this claim.” On 22 January 2019,

     Plaintiff Hayes filed a motion to dismiss and for attorneys’ fees and sanctions.
                               WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                         2021-NCCOA-151

                                        Opinion of the Court



     Plaintiffs West and Cash West joined the motion. The motion to dismiss and for

     attorneys’ fees and sanctions requested dismissal of Plaintiff Stocks’ claim to benefits,

     averring Plaintiff Stocks had no standing to make a claim pursuant to N.C. Gen. Stat.

     § 97-39 (2019). The 22 January 2019 motion also sought “costs, including reasonable

     attorney fees and sanctions pursuant to N.C. Gen. Stat. § 97-88.1 for [Plaintiff

     Stocks’] making and defending a claim without reasonable grounds.” On 6 February

     2019, the matter was set before Deputy Commissioner J. Brad Donovan (“Deputy

     Commissioner Donovan”) for a motions hearing with all parties appearing through

     counsel.

¶3         At the 6 February 2019 hearing, Deputy Commissioner Donovan noted the

     entry of a pretrial order that contained stipulations and then read the stipulations

     into the record. Although the Family Members’ 22 January 2019 motion to dismiss

     and for attorneys’ fees and sanctions averred Plaintiff Stocks had no standing to make

     a claim and “[did] not qualify as a person within the purview of the Workers’

     Compensation Act who can make a claim,” the stipulations entered into by the parties

     in connection to the 6 February 2019 hearing included: “[t]he parties are properly

     before the Commission” and “[t]he Commission has jurisdiction of the parties and the

     subject matter of the claim.”

¶4         At the 6 February hearing, Deputy Commissioner Donovan granted the Family

     Members’ motion to dismiss and motion for attorneys’ fees and sanctions. Deputy
                               WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                          2021-NCCOA-151

                                         Opinion of the Court



     Commissioner Donovan also requested counsel representing the Family Members

     submit an accounting of the time they spent defending Plaintiff Stocks’ claim for

     consideration under N.C. Gen. Stat § 97-88.1.              Deputy Commissioner Donovan

     further indicated the Family Members had reached an agreement and directed them

     to submit a consent order. On 6 February 2019, after the hearing, Plaintiff Stocks,

     in response to the motion for attorneys’ fees, filed a motion for an offer of proof seeking

     admission of all discovery responses produced in the matter to date, ostensibly to

     illustrate the amount of time spent by the parties on discovery.

¶5         On 15 February 2019, Deputy Commissioner Donovan filed an order

     dismissing Plaintiff Stocks’ claim and denying her motion for an offer of proof. The

     15 February Order stated, “[t]he parties have indicated ... they have reached an

     agreement regarding the distribution of funds in this matter.” On 22 February 2019,

     Deputy Commissioner Donovan entered an order executed and submitted by

     Defendants and the Family Members as previously directed (“Consent Order”). The

     terms of the Consent Order divided equally Decedent’s workers’ compensation death

     benefits among the Family Members. A full evidentiary hearing was not held to

     establish the underlying facts of the matter.

¶6         Plaintiff Stocks filed appeals on 20 February 2019 and 27 February 2019 from

     all three of Deputy Commissioner Donovan’s orders, including the Consent Order.

     Notwithstanding Plaintiffs Stocks’ pending appeals, on 8 March 2019, Defendants
                            WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                       2021-NCCOA-151

                                      Opinion of the Court



     paid the death benefits to the Family Members pursuant to the Consent Order. Thus,

     Defendants paid the death benefits knowing Plaintiff Stocks’ appeals were pending

     with the Full Commission.

¶7         On 10 July 2019, the case was heard before the Full Commission. On 8

     November 2019, a divided Full Commission issued its opinion and award. The

     majority found Defendants had not met their burden to be dismissed from the case

     because they “were aware that Plaintiff Stocks had appealed Deputy Commissioner

     Donovan’s Orders and that these appeals were pending before the Full Commission

     when Defendants paid the benefits to the other claimants.” In denying Defendants’

     motion, the Full Commission majority held:

                 Defendants’ interest in avoiding the additional litigation
                 engendered by appellate review does not outweigh Plaintiff
                 Stocks’ right to appellate review of the Deputy
                 Commissioner’s decision.          Allowing Defendants to
                 discharge their obligation and be dismissed from the case,
                 notwithstanding the pending appeal, would render
                 Plaintiffs’ issues on appeal moot and undermine Plaintiffs’
                 right to appeal to the North Carolina Court of Appeals by
                 relegating such appeal to a mere request for an advisory
                 opinion. In the present case, Defendants prematurely paid
                 the death benefits to certain Plaintiffs knowing that the
                 issue of Plaintiff Stocks’ entitlement to benefits under the
                 Act was pending review by the Full Commission and is
                 subject to potential further appeal to the higher courts.
                 Thus, Defendants’ Motion to Dismiss Defendants is
                 DENIED.
                               WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                          2021-NCCOA-151

                                         Opinion of the Court



¶8          On the issue of Plaintiff Stocks’ standing, in its conclusion of law Number 2,

     the Full Commission concluded Fields v. Hollowell was binding on the Commission,

     and that because no evidentiary hearing was held, the issue of whether Plaintiff

     Stocks should have the opportunity to prove factual dependence was a question of

     law. See Fields v. Hollowell &amp; Hollowell, 238 N. C. 614, 78 S.E.2d 740 (1953).1

     Accordingly, the Full Commission concluded that under Fields, Plaintiff Stocks could

     not possibly be a factual dependent of Decedent under N.C. Gen. Stat. § 97-39.

¶9          Deputy Commissioner Loutit dissented from the majority only on its ruling on

     Defendants’ motion to dismiss and would have dismissed and discharged Defendants

     from further obligations in the matter. He stated:

                   In this tragic matter, defendants accurately identified and
                   correctly compensated all claimants in accordance with
                   controlling and well-established North Carolina law and
                   N.C. Gen. Stat. §§ 97-39 and 97-48. Defendants tendered
                   payment in good faith to proper dependents and heirs of
                   the decedent in accordance with a Consent Order filed on
                   February 22, 2019. Under the long-standing laws of this
                   state with respect to dependency, there has never been a
                   genuine issue as to the proper dependents and payees.
                   Specifically, under Fields v. Hollowell . . . , plaintiff Stocks
                   currently cannot possibly be a factual dependent of
                   decedent-employee . . . .
                   Although any party or attorney may express aspirational
                   interests in using a legal vehicle such as the tragic instant


            1 In Fields v. Hollowell &amp; Hollowell, the North Carolina Supreme Court held a woman

     cohabitating with a decedent-employee at the time of his death as his common law wife is not
     entitled to any compensation or the opportunity to prove factual dependence under N.C. Gen.
     Stat. § 97-39.
                                  WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                             2021-NCCOA-151

                                            Opinion of the Court



                       matter to change laws in the hopes that the judicial system
                       may ultimately embrace her cause, these intentions should
                       not delay the swift, certain, and accurate compensation of
                       legal claimants as contemplated by the Workers’
                       Compensation Act currently in full force and effect. (Id.).


¶ 10         Between 6 December and 9 December 2019, all parties filed notices of appeal

       to this Court.

                                           II. Jurisdiction

¶ 11             Jurisdiction lies in this Court as a matter of right over a final judgment from

       the North Carolina Industrial Commission pursuant to N.C. Gen. Stat. § 7A-29(a)

       (2019).

                                               III. Issues

¶ 12         The issues before this Court are (1) whether the Industrial Commission erred

       in denying Defendants Hoyle’s Tire and Travelers’ motion to dismiss; (2) whether the

       Industrial Commission erred in denying sanctions in the form of attorneys’ fees

       against Plaintiff Stocks pursuant to N.C. Gen. Stat. § 97-88.1; and (3) whether the

       Industrial Commission erred in dismissing Plaintiff Stocks’ claim to death benefits

       and thereby denied her the equal protection of the law.

                                       IV. Standard of Review

¶ 13         Appeals from the Industrial Commission are reviewed by the Court of Appeals

       which must determine “whether any competent evidence supports the Commission’s
                                 WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                          2021-NCCOA-151

                                         Opinion of the Court



       findings of fact and whether the findings of fact support the Commission’s conclusions

       of law.” Deese v. Champion Int’l Corp., 352 N.C. 109, 116, 530 S.E.2d 549, 533 (2000).

       “When the Commission acts under a misapprehension of the law, the award must be

       set aside and the case remanded for a new determination using the correct legal

       standard.” Ballenger v. ITT Grinnell Indus. Piping, Inc., 320 N.C. 155, 158, 357

       S.E.2d 683, 685 (1987).

                                           V. Analysis

                                       A. Motion to Dismiss

¶ 14         Defendants Hoyle’s Tire and Travelers contend the Industrial Commission

       erred in denying their motion to dismiss because they tendered payment of the full

       balance of workers’ compensation benefits pursuant to the Consent Order in good

       faith. We disagree.

¶ 15         N.C. Gen. Stat. § 97-48(c) provides,

                    (c) Payment of death benefits by an employer in good faith
                    to a dependent subsequent in right to another or other
                    dependents shall protect and discharge the employer,
                    unless and until such dependent or dependents prior in
                    right shall have given notice of his or their claims. In case
                    the employer is in doubt as to the respective rights of rival
                    claimants, he may apply to the Industrial Commission to
                    decide between them.

       N.C. Gen. Stat.§ 97-48(c) (2019). Defendants cite the 1955 North Carolina Supreme

       Court case Green v. Briley, which interprets N.C. Gen. Stat. § 97-48(c), and states:
                                WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                             2021-NCCOA-151

                                         Opinion of the Court



       “for those who pay [workers’ compensation claims] in good faith, a modicum of legal

       protection against recurring demands is rightly provided.” Green v. Briley, 242 N.C.

       196, 201, 87 S.E.2d 213, 216 (1955). In order to determine whether a party has acted

       in good faith in a settlement, the court must examine the totality of the circumstances

       and consideration of all relevant facts. Brooks v. Wal-Mart Stores, Inc., 139 N.C. App.

       637, 646, 535 S.E.2d 55, 62 (2000).

¶ 16         In Green, based upon all evidence before it at the time, the Industrial

       Commission entered an order directing the payment of workers’ compensation death

       benefits to the mother of the decedent.        The evidence before the Commission

       regarding dependents included: (1) investigative statements obtained by the workers’

       compensation carrier from the decedent’s mother, as well as a family member who

       was living with the decedent at the time of his death, to the effect the decedent was

       not married and had no children, and (2) stipulations by the parties the decedent was

       not married and had no children. The order in Green was not appealed. The Supreme

       Court determined the workers’ compensation carrier acted in good faith in paying the

       dependent mother and was excused from having to make an additional payment to

       the widow. Id. at 201, 87 S.E.2d at 216.

¶ 17         The present case was properly distinguished from Green by the Industrial

       Commission majority’s order. The facts and circumstances surrounding Defendants’

       payment of benefits in the present case are as follows. In the case at bar, a clear
                               WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                          2021-NCCOA-151

                                         Opinion of the Court



       dispute existed among the parties regarding Plaintiff Stocks’ dependency on

       Decedent.    Further, the orders in the present case regarding Plaintiff Stocks’

       dependency and payment to the Family Members were appealed by Plaintiff Stocks.

       Defendants paid the Family Members after notice of appeal was filed by Plaintiff

       Stocks. Defendants acted with notice of Plaintiffs Stocks’ appeal.

¶ 18         No statutory language found in the North Carolina Workers’ Compensation

       Act exists to support a conclusion Defendants were required to pay the Family

       Members in accordance with the Consent Order notwithstanding Plaintiff Stocks’

       appeal. To the contrary, under N.C. Gen. Stat. § 97-18(e), the “first installment of

       compensation payable under the terms of an award by the Commission” does not

       “become due” until “10 days from the day following expiration of the time for appeal

       from the award or judgment or the day after notice waiving the right of appeal by all

       parties has been received by the Commission, whichever is sooner.” N.C. Gen. Stat.

       § 97-18(e) (2019). Such language indicates Defendants would not have been required

       to prematurely pay benefits to the Family Members while Plaintiff Stocks’ appeal was

       still pending.

¶ 19         Based on the foregoing, we find competent evidence exists to support the

       Commission’s finding that Defendants did not act in good faith in tendering payment

       to the Family Members such that they should have been dismissed from suit.

                                        B. Attorneys’ Fees
                                WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                          2021-NCCOA-151

                                         Opinion of the Court



¶ 20         Co-Plaintiffs Family Members contend the Industrial Commission erred in

       denying sanctions in the form of attorneys’ fees against Plaintiff Stocks pursuant to

       N.C. Gen. Stat. § 97-88.1. We disagree.

¶ 21         The Family Members requested attorneys’ fees pursuant to N.C. Gen. Stat. §

       97-88.1, which provides reasonable fees may be awarded if the Industrial Commission

       “shall determine that any hearing has been brought, prosecuted, or defended without

       reasonable ground . . . .” This Court has explained the purpose of N.C. Gen. Stat. §

       97-88.1 is to “deter stubborn, unfounded litigiousness, which is inharmonious with

       the ‘primary consideration of the Workers’ Compensation Act.’” Sparks v. Mountain

       Breeze Rest. and Fish House, Inc., 55 N.C. App. 663, 664, 286 S.E.2d 575, 576 (1982)

       (quoting Barbour v. State Hosp., 213 N.C. 515, 518. 196 S.E. 812, 814 (1938).

¶ 22         A court may award sanctions when a party violates N.C. Gen. Stat § lA-1, Rule

       11 by filing pleadings not well founded in fact and warranted by existing law or a

       good faith argument for extension, modification, or reversal of the existing law.

       Bryson v. Sullivan, 330 N.C. 644, 655, 412 S.E.2d 327, 332 (1992). An award under

       N.C. Gen. Stat. § 97-88.1 is discretionary according to the Supreme Court of North

       Carolina, which has held, “the language of [N.C. Gen. Stat §] 97-88.1 clearly indicates

       that an award of attorneys’ fees is not required to be granted. Such language places

       the decision of whether to award attorneys’ fees within the sound discretion of the
                                WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                           2021-NCCOA-151

                                          Opinion of the Court



       Commission.” Taylor v. J.P. Stevens Co., 307 N.C. 392, 397, 298 S.E.2d 681, 684
       (1983).

¶ 23          The Family Members assert Plaintiff Stocks “brought [her claim] without

       reasonable ground,” entitling the Family Members to attorneys’ fees from Plaintiff

       Stocks pursuant to N.C. Gen. Stat. § 97-88.1. Plaintiff sought the opportunity to

       prove factual dependence on Decedent under N.C. Gen. Stat. § 97-39, which states in

       relevant part:

                    A widow, a widower, and/or a child shall be conclusively
                    presumed to be wholly dependent for support upon the
                    deceased employee.      In all other cases questions of
                    dependency, in whole or in part shall be determined in
                    accordance with the facts as the facts may be at the time of
                    the accident.

       N.C. Gen. Stat. § 97-39. The plain text of N.C. Gen. Stat. § 97-39 does not dispose of

       Plaintiff Stocks’ claim, as Plaintiff Stocks could fall into the category of “all other

       cases,” allowing her to prove her factual dependency. Pairing the statute with its

       interpretation in Fields, however, specifically disposes of Plaintiff Stocks’ argument

       she could be entitled to death benefits. In Fields, our Supreme Court explained “a

       woman living in cohabitation with a man, to whom she is not married, is not within

       the purview of the term ‘in all other cases.’” See Fields, 238 N.C. at 618, 78 S.E.2d at

       743.   The parties do not dispute the principle of stare decisis would operate to bar

       Plaintiff Stocks’ argument regarding her entitlement to benefits. However, the Full
                                WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                           2021-NCCOA-151

                                          Opinion of the Court



       Commission considered Plaintiff Stocks’ argument a “good faith argument for . . .

       reversal of the existing law” in Fields.     We agree.    Therefore, we find the Full

       Commission was not required to order sanctions against Plaintiff Stocks in

       punishment of those efforts. See Fields, 238 N.C. at 614, 78 S.E.2d at 740.

¶ 24         Competent evidence exists in the record to support the Commission’s findings

       of fact, and in turn, conclusion of law that Plaintiff Stocks’ pursuit of the issue

       questioning the interpretation of the language of N.C. Gen. Stat § 97-39 did not reflect

       “stubborn, unfounded litigiousness,” but rather represented a good faith argument to

       change the precedent set in Fields.

                                        C. Equal Protection

¶ 25         Plaintiff Stocks argues the Industrial Commission erred in dismissing her

       claim to death benefits and thereby denied her the equal protection of the law.

       Plaintiff Stocks contends Fields’ interpretation of N.C. Gen. Stat § 97-39

       impermissibly delineates between classes of individuals based on their marital

       status. See Fields, 238 N.C. at 614, 78 S.E.2d 740.

¶ 26         We are bound by the North Carolina Supreme Court’s holding in Fields, and

       are, thus, without authority to revisit it until otherwise ordered to do so by the North

       Carolina Supreme Court. See Fields, 238 N.C. at 614, 78 S.E.2d 740; see also Dunn

       v. Pate, 334 N.C. 115, 118, 431 S.E.2d 178, 180 (1993) (The Court of Appeals “has no

       authority to overrule decisions of [the] Supreme Court and [has] the responsibility to
                                WEST V. HOYLE’S TIRE &amp; AXLE, LLC

                                           2021-NCCOA-151

                                          Opinion of the Court



       follow those decisions until otherwise ordered by the Supreme Court.” (alterations in

       original) (quotation marks omitted)).

                                          VI. Conclusion

¶ 29         We find competent evidence exists to support the Industrial Commission’s

       findings that (1) Defendants did not act in good faith in tendering payment to the

       Family Members such that they should have been dismissed from suit, and (2) it was

       not required to assess sanctions in the form of attorneys’ fees against Plaintiff Stocks.

       We further hold the Industrial Commission did not err in dismissing Plaintiff Stocks’

       claim to death benefits, as the Industrial Commission is bound by precedent to

       disallow an unmarried romantic partner of a decedent the opportunity to establish

       entitlement to the decedent’s death benefits. Therefore, we affirm the decisions of

       the Industrial Commission.

             AFFIRMED.

             Judges ARROWOOD and HAMPSON concur.
